           Case 1:21-cr-00245-APM Document 63-1 Filed 02/24/23 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
                                                  :
 UNITED STATES OF AMERICA                         :
                                                  : Case No. 21-CR-245 (APM)
     v.                                           :
                                                  :
 SHANE JENKINS,                                   :
                                                  :
     Defendant.                                   :
                                                  :

                                      [PROPOSED] ORDER

          Upon consideration of Defendant Shane Jenkins’ Unopposed Motion for Bench Trial, it

is

          ORDERED, that the Motion is GRANTED. It is further

          ORDERED, that this case be set for a bench trial.



Date: _____________                           ______________________________
                                              Amit P. Mehta
                                              United States Judge
